

Matter of Lara (2018 NY Slip Op 07030)





Matter of Lara


2018 NY Slip Op 07030


Decided on October 18, 2018


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 18, 2018


[*1]In the Matter of SCOTT MICHAEL LARA, an Attorney 
 (Attorney Registration No.5243969)

Calendar Date: October 15, 2018

Before: Garry, P.J., Mulvey, Aarons, Rumsey and Pritzker, JJ.


Scott Michael Lara, Los Angeles, California, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



MEMORANDUM AND ORDER
Per Curiam.
Scott Michael Lara was admitted to practice by this Court in 2014 and lists a business address in Palo Alto, California with the Office of Court Administration. Lara now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Lara's application.
Upon reading Lara's affidavit sworn to September 20, 2018 and filed September 24, 2018, and upon reading the October 10, 2018 correspondence in response by the Chief Attorney for AGC, and having determined that Lara is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Garry, P.J., Mulvey, Aarons, Rumsey and Pritzker, JJ., concur.
ORDERED that Scott Michael Lara's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Scott Michael Lara's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Scott Michael Lara is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Lara is hereby forbidden to appear as an attorney or counselor-at-law [*2]before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Scott Michael Lara shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








